                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


 CANDICE R. SULFRIDGE,                          )
                                                )
       Plaintiff,                               )
                                                )
 v.                                             )      No. 3:05-cv-188
                                                )      (Phillips)
 JOHN HUFF, et al.,                             )
                                                )
       Defendants.                              )



                      JUDGMENT ON DECISION BY THE COURT

       The Honorable Thomas W. Phillips, United States District Judge, having found that

 plaintiffs have abandoned their case and demonstrated a failure to prosecute,

       IT IS ORDERED AND ADJUDGED that all claims against the defendants are

 DISMISSED.

       IT IS SO ORDERED.

                                  ENTER:


                                            s/ Patricia L. McNutt
                                                Clerk of Court




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